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                       UNITED STATES DISTRICT COURT
                                            for the
                                  Western District of Kentucky
                                      Louisville Division

Reginald Green                         )
      Plaintiff                        )
                                       )
v.                                     )               Case No.       3:17-cv-00204-TBR
                                       )
ARS Account Resolution Services et al. )
     Defendants                        )
                                       )

            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE AS TO
                 DEFENDANT SANTANDER CONSUMER USA, INC.
       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Reginald Green

and Defendant Santander Consumer USA, Inc. hereby jointly request that this Court dismiss

with prejudice Plaintiffs’ claims against Defendant in the above-styled action. Except as

otherwise agreed, the parties shall each bear their own costs, expenses, and attorney’s fees.

This stipulation does not affect, and is not intended to affect, Plaintiff’s claims against any

other Defendant in this action.



HAVE SEEN AND APPROVED:

/s/ James H. Lawson                            /s/ Christy A. Ames (by permission)
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